                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


 Cheryl Grace,

                  Plaintiff,
                                                        Case No.
            v.

 Nielsen Holdings, PLC, The Nielsen Corporation,
 ACNielsen or AC Nielsen, John Doe Corporation          Jury Trial Demanded
 (a/k/a New Company)

                  Defendants.


                                          COMPLAINT

        Plaintiff, Cheryl Grace, by and through her attorneys, Stowell & Friedman, Ltd., hereby

files this Complaint against Defendants Nielsen Holdings, PLC, The Nielsen Corporation,

ACNielsen, AC Nielsen (collectively “Nielsen”) and John Doe Corporation (“New Company”)

and states as follows:

                                 JURISDICTION AND VENUE

        1.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331 and

1343. Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C. §1391(b)

because a substantial part of the events or omissions giving rise to the claims occurred in this

district.

                                             PARTIES

        2.       Founded in the Chicagoland area, in 1923 by Arthur Nielsen after he invented an

approach to measuring competitive sales results or market share known as The Nielsen Ratings,

Defendant Nielsen is now an S&P 500 company with operations in over 100 countries, covering
more than 90% of the world’s population. As a global measurement and data analytics company,

Nielsen boasts that it provides the most complete and trusted view available of the activities of

consumers and markets worldwide. Nielsen currently is divided into two business units: Nielsen

Global Media (“Media”) and Nielsen Global Connect (“Connect”). Media serves its clients as

the “arbiter of truth” for media markets by providing media and advertising clients with unbiased

and reliable metrics. Connect provides consumer packaged goods’ manufacturers and retailers

with accurate, actionable information and a complete picture of the changing marketplace by

using predictive models. On November 7, 2019, Nielsen announced its plan to spin off the

company’s Connect business, creating two independent, publicly traded companies—the Global

Media business and the Global Connect business. On September 29, 2020 Nielsen selected

Chicago as its headquarters for the yet to be publicly named new company for Connect (“John

Doe Corporation” or “New Company”).

       3.      Cheryl Grace (“Grace”) is currently Nielsen’s Senior Vice President of U.S.

Strategic Alliances and Consumer Engagement, a position she has held at Nielsen since 2014.

Grace was first promoted to a Senior Vice President role in 2007 when she was assigned the title

of Senior Vice President of Communications for the company’s Consumer Packaged Goods

(CPG) division and its Go-To-Market product offerings. Grace was hired by Nielsen in 2004 as

its Vice President of Communications and Community Affairs for the Media Division. She has

approximately 35 years of professional work experience in marketing and communications.

Unlike her similarly situated white colleagues, Grace’s efforts and strong performance have not

been rewarded with advancement beyond an SVP role at Nielsen.




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                                  FACTUAL ALLEGATIONS

       4.      In 2004 Nielsen’s client, FOX news, launched a concerted attack and well-funded

anti-Nielsen campaign, entitled “Don’t Count Us Out,” against the company alleging the brand

did not accurately reflect diverse communities in its sample households. Nielsen was not viewed

as a trusted brand in Black, Hispanic and Asian American communities throughout the country

and was accused of intentionally failing to accurately represent such populations in Nielsen’s

ratings in the top 10 metropolitan cities. Under a firestorm of adverse publicity, and given her

community, governmental and television industry experience, Nielsen wisely hired Grace to help

rebuild its tarnished relationships, particularly with Blacks and Hispanics across the country.

       5.      For more than 16 years, Nielsen exploited to its advantage Grace’s strong

personal and business relationships, as it rebuilt its name as a respected brand in diverse

communities—especially in Chicago where Grace has lived since 1985. To transform Nielsen’s

reputation, Grace relied on her close personal and business contacts in Chicago and Illinois with

elected officials, civil rights leaders, and heads of corporate and non-profit sectors. Grace and her

team launched and/or created Nielsen’s social investments in civic and social justice

organizations, educational institutions, and grassroots initiatives that have rooted Nielsen in local

and national markets.

       6.      Grace has been a community stalwart with a record of involvement in non-profit

organizations and/or service on various Boards, including: Executives’ Club of Chicago; Girl

Scouts of Greater Chicago and Northwest Indiana; Better Government Association; Chicago

Foundation for Women; Chicago Children’s Advocacy Center; Museum of Broadcast and

Communications; Bottomless Closet; Center for New Horizons; Rainbow PUSH Coalition

Corporate Council; Chicago Urban League’s Golden Fellowship Dinner Gala Co-chair; Chicago




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Urban League’s IMPACT Leadership Development Program; Network of Executive Women’s

Executive Leaders’ Forum Steering Committee.

       7.      Though not an exhaustive list, Grace has been repeatedly recognized externally

and received honors for her life’s work including: Black Enterprise Magazine’s Top 50

Powerful Women in Business; Who’s Who in Black Chicago; Uptown Professional Magazine

100 Most Influential Diverse Leaders; Network Journal’s America’s 25 Most Influential Black

Women; Chicago Defenders’ Inaugural News Makers of the Year Award; The Grio’s 100 List of

Solution Makers; Purdue University’s Distinguished Alumni Award; National Newspapers

Publishers Association Corporate Award; Chicago United’s “Distinguished Business Leader of

Color”; “Remarkable Person” profile in Chicago Tribune Magazine; National Diversity Council

Most Powerful and Influential Women of Illinois. She is a highly sought-after speaker, thought

leader and panel participant on such platforms as Congressional Black Caucus Annual

Legislative Conferences, National Association Black Journalists, National Association Black

Owned Broadcasters, National Newspaper Publishers Association, National Association for the

Advancement of Colored People, and National Action Network, among others.

       8.      Grace and her teams have changed the national narrative surrounding

multicultural consumers and their growing influence and impact on brands. They have favorably

shifted awareness and reshaped the perception of Nielsen’s brand with senior-level clients and

consumers. Grace herself has a proven track record in reputation management and has overseen

high-stakes projects and advised executives in crisis management, client events, consumer

engagement and activations, public/government affairs, advertising, traditional and non-

traditional media, research, and analytics. Grace has also been integral in establishing Nielsen’s

diverse external advisory councils and internal employee resource groups.




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       9.      Notwithstanding her strong relationships and history of creating award-winning

advertising, public affairs and consumer outreach campaigns, Nielsen has refused to promote

Grace to Executive Vice President. Nielsen’s treatment of Grace is consistent with its historical

treatment of African American women. Instead of creating a succession plan, which includes the

promotion of African American women to Executive Vice President or higher-ranking roles,

Nielsen moves quickly to fill similar positions with external candidates to create the optic of

inclusion and opportunity. Nielsen wrongly believes that these visible external hires are a

substitute for developing and rewarding internal talent. But there is no viable career path to

Executive Vice President for an internal female candidate who is African American.

       10.     For Grace, the cost of having the audacity to request a promotion to Executive

Vice President has been considerable. She has consistently been a high performer and is not

only well-regarded externally, but internally has also cultivated a reputation for excellence and

has made a lasting contribution. Grace trained more than three white managers who were

brought in at the level of Executive Vice President of Corporate Affairs, despite Grace having

had the experience to execute such roles. Although Grace had positioned herself for a promotion

to Executive Vice President years ago, Grace recently increased her efforts to obtain the

promotion.

       11.     In June of 2019, Grace had a meeting with her then-manager, George Callard

(“Callard”), Chief Legal Officer, during which she expressed her desire for an expanded role and

concern regarding her vastly reduced budget. After Nielsen’s Chief Executive Officer (“CEO”)

and Chief Diversity Officer (“CDO”) David Kenny expressed appreciation for associates

bringing forth “bold” ideas, Grace submitted a proposal to Callard, for a new role as an

Executive Vice President. She followed up this request when she submitted her 2019 Self




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Assessment and Performance Evaluation and again expressly stated her desire for growth within

Nielsen. Grace spent considerable time and effort preparing the proposal and performance

evaluation, but both efforts were ignored by Callard.

       12.      A few days after Grace submitted her 2019 Self-Assessment, she learned that Eric

Rubenstein (“Rubenstein”) would become the Chief Legal Officer for Nielsen’s Connect

business. Grace sent a congratulatory note to Rubenstein and Callard and emphasized that she

was interested in helping to shape the transition for community affairs, corporate engagement,

and government affairs. Notwithstanding her request to be involved in the process, and her

expertise in these areas having represented Nielsen locally and nationally, Grace was neither

sought out nor consulted; and continues to be shut out to date.

       13.      On February 8, 2020, Grace next submitted a proposed organizational structure

for the new Connect marketing team to Jacqueline Woods (“Woods”), who is also an African

American woman, after Grace learned that she would report to Woods.

       14.      Woods shared that others had pointed out that Grace “made a lot of money,” that

“it stood out,” and that others wondered, “what does this team do?” Therefore, Woods explained

it would be necessary for Grace to justify her team’s work. Grace was told that she would need

to demonstrate how the advocacy and outreach work would offer benefits to Nielsen. Woods felt

it was important for someone to do advocacy from a corporate standpoint and vowed to help

Grace. Woods shared with Grace that Woods noted the hostility toward Grace’s earnings

seemingly stemmed from that fact that Grace is an African American woman; even commenting

that during Woods’ professional tenure Woods had not observed others questioning the earnings

of white men.




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           15.   Grace knew that she could substantiate her proposal and justify her team’s

existence. The team had achieved all of the activities Grace highlighted in the proposal and for

which there was a great need, such as coordinating external advisory councils, employee

resource groups, and multi-cultural microsites. It had also represented Nielsen at community and

industry conferences; overseen the company’s community philanthropic outreach, handled the

multicultural advertising strategy, and managed those agencies. Finally, Grace’s team had also

co-managed government affairs and launched and oversaw the Diversity Intelligence Series

reports. Grace’s team successfully garnered increased awareness of the Nielsen brand within

diverse communities, with the message “You Matter” long before the Black Lives Matter

movement took root, and persistently communicated that the company was “more passionate

than ever about measuring and analyzing how people of all ethnic backgrounds interact with

digital platforms, traditional media and in-store environments;” and were a “key element” of

Nielsen’s success.

           16.   During the same conversation that Woods shared that others were perturbed by

Grace’s earnings, Woods explained that there was “noise” around reductions and asked if Grace

wanted to be “packaged out.” Grace advised Woods that she did not want to be “packaged out.”

           17.   On May 12, 2020, Grace submitted a PowerPoint presentation to Woods, which

highlighted Grace’s vision for her new responsibilities around corporate reputation and corporate

affairs.

           18.   On May 26, 2020, Grace learned that corporate affairs and government affairs,

would be assigned to Rubenstein. After receiving this announcement, Grace reached out to

Woods regarding Grace’s concerns that the Global Connect organizational announcement placed

all matters pertaining to corporate affairs under Rubenstein’s control. Grace expressed concern




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about what this meant for Grace and her team. Woods responded that Woods was not going “to

fight” for the responsibilities, a clear indicator that Woods did not have the will or standing to

effectuate change.

       19.     Following the Rubenstein announcement, Grace experienced additional

marginalization and disrespect. On June 4, 2020 Nielsen held a Global diversity and inclusion

town hall about the state of African Americans not feeling heard or validated. Despite being one

of the most prominent Nielsen executives responsible for outreach to African Americans, Grace

was not invited to help plan the discussions. Grace nonetheless provided her recommendations.

Further, Nielsen deployed a Black Lives Matter social media message, but Grace was not invited

to weigh in. Again, Grace shared her views when she received external dismay regarding the

tone of the post. As a longstanding African American leader at Nielsen, and a highly visible and

recognizable executive for the company externally, particularly in the African American

community, Grace felt strongly that she brought value and should have been included in these

discussions and decisions.

       20.     Grace’s role at Nielsen had been significantly marginalized as of June 2020 and

she was hurt by the treatment. Kenny reached out twice to Grace around June 3, which caused

Grace to believe that perhaps Kenny was a leader at Nielsen who embraced diversity, valued her

contributions and would recognize her treatment as unjust. Thus, Grace found the strength to

write Kenny to share her observations about her treatment and the treatment of African

Americans at Nielsen.

       21.     On June 3, 2020, Grace submitted a letter to Kenny in his capacity as CEO, but

more importantly as the company’s CDO, about her concerns that diversity and inclusion were

not being fully executed at home and that it was important for these efforts to start at the highest




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level. Attached hereto as Exhibit A. She shared her observations that Black leaders are rarely

promoted from within at Nielsen but are instead imported from the outside. Grace explained that

the lack of promotion for African American women from within the company left Black females,

and others, without hope. Grace also shared her observations, from both Connect and Media,

that leaders circumvent African American colleagues who might offer diverse opinions and

perspectives. Grace further explained that African Americans are labeled as negative,

troublemakers, combative or self-aggrandizing when they seek to raise awareness of where the

company is most vulnerable and described how this could damage the company’s external

reputation. Grace complained that the company viewed egregious acts by white employees

against African Americans as “oopsie” moments, such as when a white executive referred to an

African American assistant as a slave, while, in contrast, a junior African American employee

was terminated for, in Nielsen’s view, exercising poor “judgment” in how she disseminated an

email about micro-aggressions. Finally, Grace shared with Kenny her belief that African

American employees do not speak up due to fear of being labeled, fear of retaliation, fear of

exclusion, fear of being blackballed in the industry and the need to survive.

       22.     By the time Grace wrote her letter to Kenny she had already been asked three

times if she “wanted to be packaged out.” She assured Kenny that she wanted to remain at

Nielsen and would welcome the opportunity for a discussion. Kenny almost immediately

reached out to Grace to let her know that he would contact her soon.

       23.     Instead of contacting Grace, however, Kenny turned Grace’s letter over to

Nielsen’s Human Resources and the Legal departments. Rather than applauding Grace for

having the courage to speak out and to seek to improve Nielsen’s treatment of its African

American employees, Nielsen subjected Grace to relentless and horrible retaliation. Grace’s




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letter to Kenny perfectly predicted the outcome. Nielsen punished Grace for speaking out and

reporting discrimination.

       24.     Even Nielsen’s efforts to retaliate against Grace by rewriting history regarding her

performance were laced with stereotypical or racist assertions. For example, Nielsen falsely

claimed that Grace years earlier had previously committed “expense fraud.” Pressing for details

on this false allegation, Grace learned that Nielsen claimed that Grace should not have used a

limo service when she went from event to event while attending the Congressional Black Caucus

Annual Legislative Conference, even though this was the standard practice. Apparently, the

notion of Grace, a Black woman traveling by limo while on business, infuriated someone who

reviewed the expenses and approved them but was still stewing over them several years later.

Likewise, further support for the “fraud” charge was that Grace had used a makeup artist for an

on-screen filming of an interview. This too was common practice. Again, the charge was

approved years earlier, but apparently someone was still stewing over it too. Further, Nielsen

complained that Grace had set up a one-on-one meeting between Kenny and Marc Morial

(“Morial”) President and CEO of the National Urban League, the nation's largest historic civil

rights and urban advocacy organization, who had requested the meeting to get to know Kenny,

Nielsen’s new CEO. While ordinarily an employee who secures this type of introduction for

executives would be applauded for securing a meeting with an important contact, after writing

her letter to Kenny to expose racial discrimination, Grace was informed that unnamed people

were apparently angry because Morial had the audacity to outright request a donation from

Nielsen, when the normal way it is done according to Nielsen (not Grace) is through a “quid pro

quo.” The last example cited was that (again, several months prior), Reverend Jesse L. Jackson

Sr., (“Jackson”), founder and president of the Rainbow PUSH Coalition, had the nerve to write a




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letter to request that Nielsen consider promoting Grace, who had 35 years’ experience and an

MBA, to a position running “a line of the business.” Apparently, someone at Nielsen had

hostility toward Jackson. Letters of support are routinely written by white leaders on behalf of

white employees without the resulting hostility. Nielsen’s efforts to characterize Grace as a thief

with respect to her expense account and its disturbance with the actions of Morial and Jackson,

foremost civil rights leaders, alarmed Grace.

       25.     Grace was also contacted by Human Resources who offered Grace a package.

When Grace did not accept the package by the date given, she was told that she might be

terminated on August 1, 2020 if she did not sign the severance package.

       26.     Grace did not sign the package, but she was not terminated and remains an

employee of Nielsen. Nielsen has since rescinded the offer. Nielsen has not only denied Grace a

promotion to Executive Vice President but has marginalized Grace and substantially reduced her

role, team, and budget — making it an almost-certain that she will never receive a promotion.

Further, Nielsen’s actions in retaliation for her opposition to racial discrimination have made it

clear that she is no longer a valued employee of the company. After Grace repeatedly sought

promotion, and after she spoke up to protest Nielsen’s appalling treatment of African Americans,

Nielsen attempted to push her out of the company and reduced her responsibilities, making clear

she had no future with Nielsen. She knows, after more than 16 years of service to Nielsen, that

the company does not support her and wants her gone.

       27.     Further, Nielsen’s effective demotion of Grace is especially hard to square with

Nielsen’s recently announced decision to move its headquarters to Chicago. Grace lives in

Chicago and has close, personal, long-standing business connections to the Mayor, the City

Treasurer, the Lieutenant Governor, the State’s Attorney, the Attorney General, the State




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Comptroller, city council members and state representatives, as well as other business, media,

and entertainment executives, some who have already reached out to Grace independently of

Nielsen, regarding the company’s new headquarters. Grace continues to be sought-after as an

expert for Nielsen on multicultural matters, appearing as recently as October 17, 2020 on a

national CBS This Morning news segment about diversity and products. Yet, rather than give

the well-connected Grace an expanded role in its new Chicago-based business, Nielsen

marginalized her in favor of white and non-complaining employees with no meaningful contacts

in Chicago or understanding of the city.

       28.     Grace has suffered humiliation, severe emotional distress, physical illness, and

loss of esteem due to the treatment. Grace’s career has been irreparably harmed and her

reputation damaged due to Nielsen’s marginalization.

                                             COUNT I

             RACIAL DISCRIMINATION IN VIOLATION OF 42 U.S.C. § 1981

       29.     Plaintiff realleges the above paragraphs and incorporates them by reference as

though fully stated herein as part of Count I of this Complaint.

       30.     Section 1977 of the Revised Statutes, 42 U.S.C. § 1981, as amended, guarantees

persons of all races the same right to make and enforce contracts, regardless of race. The term

“make and enforce” contracts includes the making, performance, modification, and termination

of contracts, and the enjoyment of all benefits, privileges, terms, and conditions of the

contractual relationship, including employment relationships.

       31.     By the acts and conduct described above, Defendants engaged in illegal

intentional racial discrimination against Plaintiff in violation of 42 U.S.C. § 1981.




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       32.     Plaintiff has been harmed as a direct and proximate result of Defendants’

unlawful conduct.

                                            COUNT II

                    RETALIATION IN VIOLATION OF 42 U.S.C. § 1981

       33.     Plaintiff realleges the above paragraphs and incorporates them by reference as

though fully stated herein as part of Count II of this Complaint.

       34.     Section 1981 makes it unlawful for an employer to retaliate against an employee

because that employee engaged in protected activity, such as complaining to her employer about

race discrimination.

       35.     Plaintiff engaged in protected activity by complaining about and reporting race

discrimination to Defendants.

       36.     Defendants took adverse employment actions against Plaintiff as further

discrimination and in retaliation for engaging in this protected activity.

       37.     Plaintiff was subjected to and harmed by Defendants’ further discrimination and

retaliation after he complained about Defendants’ discriminatory conduct.

       38.     As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered

damages.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court find in her favor and against

Defendants as follows:

       a.      Declare that the acts and conduct of Defendants are unlawful and violate 42

               U.S.C. § 1981;




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      b.     Award Plaintiff the value of all compensation and benefits lost as a result of

             Defendants’ unlawful conduct;

      c.     Award Plaintiff the value of all compensation and benefits she will lose in the

             future as a result of Defendants’ unlawful conduct;

      d.     Award Plaintiff compensatory damages, including but not limited to damages for

             emotional pain, suffering, inconvenience, mental anguish, loss of enjoyment of

             life, and other non-pecuniary losses;

      e.     Award Plaintiff punitive damages due to Defendants’ malicious conduct and/or

             Defendants’ reckless or callous indifference to the statutorily protected rights of

             Plaintiff;

      f.     Award Plaintiff prejudgment interest;

      g.     Award Plaintiff attorneys’ fees, costs, and disbursements pursuant to 42 U.S.C. §

             1988; and

      h.     Award Plaintiff such other make whole equitable, injunctive, and legal relief as

             this Court deems just and proper.

                                       JURY DEMAND

      Plaintiff demands a trial by jury on all issues of fact and damages triable in this action.

                                     Respectfully submitted,

                                     STOWELL & FRIEDMAN, LTD.

                                     By:     /s/ Linda D. Friedman

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